Case 2:20-cv-08016-FMO-AFM Document 16 Filed 11/16/20 Page 1 of 1 Page ID #:37




   1     CENTER FOR DISABILITY ACCESS
         Russell Handy, Esq., SBN 195058
   2     Dennis Price, Esq., SBN 279082
         Amanda Seabock, Esq., SBN 289900
   3     8033 Linda Vista Road, Suite 200
         San Diego, CA 92111
   4     (858) 375-7385; (888) 422-5191 fax
         amandas@potterhandy.com
   5     Attorneys for Plaintiff
   6                               UNITED STATES DISTRICT COURT
   7                              CENTRAL DISTRICT OF CALIFORNIA
   8     RICARDO SHERFIELD,                       Case No. 2:20-cv-08016-FMO-AFM
   9                 Plaintiff,                   NOTICE OF APPEARANCE OF
                                                  COUNSEL
  10         v.
  11     ROIC PARAMOUNT PLAZA, LLC, a
         Delaware Limited Liability Company;
  12     99 CENTS ONLY STORES LLC, a
         California Limited Liability Company;
  13     and Does 1-10,
  14                 Defendants.
  15
              Please take notice that Amanda Seabock of the firm Center for
  16
       Disability Access, 8033 Linda Vista Road, Suite 200, San Diego, CA 92111,
  17
       hereby appears as counsel on behalf of Plaintiff RICARDO SHERFIELD. All
  18
       pleadings and other documents served on RICARDO SHERFIELD should also
  19
       be directed to the attention of Amanda Seabock.
  20
  21
       Dated: November 13, 2020              CENTER FOR DISABILITY ACCESS
  22
  23                                         By: /s/ Amanda Seabock
                                                   Amanda Seabock
  24                                               Attorney for Plaintiff
  25
  26
  27
  28




                                             1

       Notice of Appearance of Counsel                   Case:: 2:20-cv-08016-FMO-AFM
